                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION


MAYA HOTEL INC., RUXMANI HOTELS, INC. )
 and SHARDAMAYA INC. d/b/a COMFORT    )
INN UNIVERSITY,                       )
                                      )
       Plaintiffs,                    )
v.                                    )
                                      )
OWNERS INSURANCE CO.,                 )
                                      )
       Defendant.                     )


                   COMPLAINT FOR DAMAGES AND JURY DEMAND

       Plaintiffs MAYA HOTEL, INC. (“MAYA”), RUXMANI HOTELS, INC. (“RUXMANI”)

and SHARDAMAYA, INC. (“SHARDAMAYA”) d/b/a COMFORT INN UNIVERSITY

(collectively, “Plaintiffs”), by and through the undersigned counsel, file this Complaint for

damages against defendant OWNERS INSURANCE CO. (hereinafter, “INSURER”) and state as

follows:

                                 JURISDICTION AND VENUE

       1.      The subject cause of action occurred in Wilmington, New Hannover County, North

Carolina, and appropriate venue is in the Wilmington Division of this Court.

       2.      The Court has jurisdiction under 28 U.S.C. § 1332 in that the amount in controversy

in over $75,000 and the parties are domiciled in different states.

                                            PARTIES

       3.      At all times relevant herein, MAYA is and has been a North Carolina business

corporation with its principal place of business in North Carolina.

       4.      At time relevant herein, RUXMANI and SHARDAMAYA are and have been


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North Carolina corporations with their principal place of business in North Carolina.

       5.      At all times relevant herein, MAYA and SHARDAMAYA has maintained common

shareholders, as well as the same majority shareholder and President, and RUXMANI has

managed the operations thereof.

       6.      At all times relevant herein, SHARDAMAYA has owned and operated a Comfort

Inn hotel located at 151 S. College Rd., Wilmington, North Carolina, and has done business in the

name “Comfort Inn University” (hereinafter, the “Hotel”).

       7.      INSURER is a Michigan-based property and casualty insurance company with its

principal place in business in Lansing, Michigan, but is an authorized property and casualty insurer

in North Carolina.

                                  GENERAL ALLEGATIONS

        8.     On or about March 1, 2015, the President of MAYA, RUXMANI and

SHARDAMAYA purchased a policy of commercial property insurance from INSURER under

Policy Number 184615-35302816-18 (the “Policy"), which covered ten individual hotels in three

states, with different corporate owners, but common shareholders and the same majority

shareholder and President, including the Hotel. [A true and accurate copy of the purported Policy

applicable to the date of loss is attached hereto and incorporated herein as Exhibit “A”.]

       9.      The Policy included separate policy declarations for each hotel, and provided

Building replacement cost coverage for the Hotel (location 003) with general policy limits of

$6,120,000.00, including additional Ordinance or Law coverage; replacement cost Personal

Property coverage with general policy limits of $1,000,000.00; and Hotel Plus Premier Coverage

Package for Building and Personal Property, among others.

       10.     At the time of purchasing the Policy, Plaintiffs reasonably relied upon Insurer in



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determining necessary and proper coverages for the Hotel, including but not limited to the

identification of the ‘insured” as well as the proper replacement cost of the Hotel for purposes of

the coinsurance requirements in the policy.

       11.     Plaintiffs have an insurable interest in the Hotel, and have further satisfied their co-

insurance requirement, as determined by INSURER.

       12.     Plaintiffs have paid all Policy premiums that have become due during the initial

term, and all subsequent renewal terms thereafter.

       13.     Accordingly, INSURER has provided continuous coverage under the Policy for

Plaintiffs and the Hotel through the present time.

       14.     On or about September 15, 2018, Hurricane Florence made landfall in the

Wilmington, North Carolina area with sustained winds, causing devastation to the community,

and substantial wind damage and resulting loss to the Hotel.

       15.     Within a few days of the storm, Plaintiffs made a claim for loss from Hurricane

Florence and related wind damage with INSURER, who assigned it claim number 300-0285372-

2018 with a date of loss of September 15, 2018 (the “Claim”).

       16.     The Policy, in pertinent parts, provided building and personal property coverage as

follows:

       A. COVERAGE
       We will pay for direct physical loss of or damage to Covered Property at the
       premises described in the Declarations caused by or resulting from any Covered
       Cause of Loss.
       (a) Covered Property
           Covered Property, as used in this Coverage Part, means the type of property
           described in Section A.1., and limited in A.2., Property Not Covered, if a
           Limit of Insurance is shown in the Declarations for that type of property.
           a. Building, meaning the building or structure described in the Declarations,
              including:
              (1) Completed additions;
              (2) Fixtures, including outdoor fixtures;
              (3) Permanently installed:

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                     (a) Machinery; and
                     (b) Equipment;
                 (4) Building glass, meaning glass that is part of the building or structure;
                 (5) Personal property owned by you that is used to maintain or service the
                     building or structure or its premises, including:
                     (a) Fire-extinguishing equipment;
                     (b) Outdoor furniture;
                     (c) Floor coverings; and
                     (d) Appliances used for refrigerating, ventilating, cooking,
                         dishwashing, or laundering; and
             (6) If not covered by other insurance:
             (a) Additions under construction, alterations and repairs to the building or
                 structure; and
             (b) Materials, equipment, supplies and temporary structures, on or within
                 1,000 feet of the described premises, used for making additions,
                 alterations or repairs to the building or structure.

       (c) Your Business Personal Property located in or on the building described in the
           Declarations or in the open (or in a vehicle) within 1,000 feet of the described
           premises, consisting of the following unless otherwise specified in the Declarations or
           on the Your Business Personal Property - Separation of Coverage endorsement:
                       i. Furniture and fixtures;
                      ii. Machinery and equipment;
                     iii. "Stock";
                     iv. All other personal property owned by you and used in your business;
                      v. Labor, materials, or services furnished or arranged by you on personal
                          property of others;
                     vi. Your use interest as tenant in improvements and betterments.
                          Improvements and betterments are fixtures, alterations, installations, or
                          additions:
       (d) Made a part of the building or structure you occupy but do not own; and
       (e) You acquired or made at your expense but cannot legally remove; and
       (f) Leased personal property for which you have a contractual responsibility to insure,
           unless otherwise provided for under Personal Property of Others.


       17.      Pursuant to the terms of the Policy and Declarations, windstorm damage is a

covered cause of loss.

       18.      The Policy further provided the following duties of Plaintiffs in the event of loss or

damage:

          a. You must see that the following are done in the event of loss or damage to
             Covered Property:
             (1) Notify the police if a law may have been broken.
             (2) Give us prompt notice of the loss or damage. Include a description of the
             property involved.


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              (3) As soon as possible, give us a description of how, when and where the loss
              or damage occurred.
              (4) Take all reasonable steps to protect the Covered Property from further damage,
              and keep a record of your expenses necessary to protect the Covered Property, for
              consideration in the settlement of the claim. This will not increase the Limit of
              Insurance. However, we will not pay for any subsequent loss or damage resulting
              from a cause of loss that is not a Covered Cause of Loss. Also, if feasible, set the
              damaged property aside and in the best possible order for examination.
              (5) At our request, give us complete inventories of the damaged and undamaged
              property. Include quantities, costs, values, and amount of loss claimed.
              (6) As often as may be reasonably required, permit us to inspect the property
              proving the loss or damage and examine your books and records.
              Also permit us to take samples of damaged and undamaged property for inspection,
              testing and analysis, and permit us to make copies from your books and records.
              (7) Send us a signed, sworn proof of loss containing the information we request to
              investigate the claim. You must do this within 60 days after our request.
              We will supply you with the necessary forms.
              (8) Cooperate with us in the investigation or settlement of the claim.

         b. We may examine any insured under oath, while not in the presence of any other
            insured and at such times as may be reasonably required, about any matter relating
            to this insurance or the claim, including an insured's books and records. In the event
            of an examination, an insured's answers must be signed.


        19.      On or about September 20, 2018, Plaintiffs arranged an inspection of the Hotel

damages with INSURER’s adjuster. At that time, the Hotel had no power, was consumed by wind

and water damages throughout, and was filled people.

        20.       After a cursory inspection, INSURER’s adjuster indicated that he would return

due to the extent of the damage and the size of the building, and that he would be bringing ServPro

to assist with a portion of the loss.

        21.      On or about September 21, 2018, INSURER’s adjuster returned with an employee

of ServPro, who was brought to the HOTEL by INSURER to perform an inspection of damages

and to prepare an estimate for demolition and the mitigation of damages.

        22.      After ServPro completed its inspection, INSURER’s adjuster directed Plaintiffs to

execute an authorization for ServPro to perform demolition and mitigation work.


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        23.     ServPro informed Plaintiffs that they would pay nothing out of pocket, as

INSURER would be paying for all of the work. ServPro further advised Plaintiffs that all hotel

guests would have to be removed before the mitigation work began.

        24.     Plaintiffs signed an authorization for ServPro to begin the demolition and

mitigation work because ServPro refused to provide Plaintiffs with an inspection report or estimate

without Plaintiffs signing the authorization, and INSURER’s adjuster warned that INSURER may

not cover the loss if the ServPro’s demolition and mitigation work wasn’t begun.

        25.     As a result of the HOTEL being filled with guests, and additional commitments

already made by Plaintiffs, Plaintiffs requested that the demolition and mitigation work be delayed

a few days, however, INSURER’s adjuster advised that delaying ServPro’s demolition and

mitigation work could affect INSURER’s coverage for the loss. As a result, Plaintiffs cleared the

Hotel of Guests and authorized ServPro to begin demolition and mitigation work on or about

September 25, 2018.

        26.     After being authorized to begin demolition and mitigation work, ServPro worked

directly with INSURER in determining the nature and extent of demolition and mitigation work

to be performed in the Hotel. ServPro and INSURER came to an agreed plan for demolition and

mitigation of the Hotel based upon ServPro’s recommendations.

        27.     On or about October 4, 2018, INSURER’s adjuster and ServPro agreed that all

affected areas from the water intrusion should be demolished and removed, due to concerns about

mold.

        28.     Despite being told the INSURER would be paying all of ServPro’s demolition and

mitigation costs, Plaintiffs began receiving invoices from ServPro, which quickly exceeded $1

million.


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       29.     On or about October 9, 2018, Plaintiffs retained Indiana Public Adjusting Inc. and

Jay Hatfield (“IPA”) to assist with the handling of the claim.

       30.     On or about October 11, 2018, IPA met with INSURER’S adjuster and ServPro at

the Hotel. During that meeting, the ServPro employee confirmed that INSURER’s adjuster had

agreed to pay ServPro’s bill, which was estimated to be in excess of $1 million. INSURER further

agreed to submit an advance payment toward future permanent repairs that was not intended for

ServPro’s demolition and mitigation work.

       31.     On October 18, 2018, IPA received an emailed copy of a letter from INSURER,

dated October 18, 2018, which outlined INSURER’s claim investigation to date. The letter

indicated Plaintiffs would be sent a check for $750,000.00 toward repairs, without any itemization

for the same, or indicating whether the funds were to be used for the ServPro work or for

permanent repairs. INSURER further refused to provide Plaintiffs an advance payment toward

business income coverage, despite having compelled Plaintiffs to vacate all occupants for

demolition and mitigation work. Finally, INSURER failed to acknowledge that Plaintiffs’ loss was

covered under the Policy and insisted that its investigation of the loss continued.

       32.     On October 18, 2018, INSURER’s adjuster confirmed via text that the $750.000.00

advance payment was above and beyond the ServPro work, and the amount did not reflect any

amounts due to ServPro for its work.

       33.     On October 19, 2018, IPA submitted a repair estimate for Plaintiff’s roof only. The

estimate further acknowledged that INSURER would not be assuming responsibility for the repair

work and that Plaintiffs would be hiring its own contractor to begin the work once the advance

payment arrived.

       34.     Later that day, IPA was informed by ServPro that INSURER was not paying their


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invoices as INSURER had agreed, and that ServPro was going to stop their demolition and

mitigation work until they were paid by INSURER or Plaintiffs.

       35.     IPA called INSURER’s supervising adjuster and informed her that ServPro was

refusing to continue doing the necessary demolition and mitigation work because INSURER was

not making payment as promised. The supervising adjuster stated that INSURER had the right to

make payment when it chose to do so, and further disparaged IPA’s adjuster and its work. She

further claimed that Plaintiffs were not mitigating damages and was threatening coverage for the

loss accordingly. She also claimed that they would not pay for the damaged contents that were

disposed of by ServPro.

       36.     On October 21, 2018, IPA sent a detailed letter to INSURER’s supervising adjuster

as IPA still had not received the promised letter or advance from INSURER, and further detailed

the numerous misrepresentations made by the supervising adjuster.

       37.     On October 24, 2018, IPA received a second letter from INSURER, suggesting that

Plaintiffs could use the advance funds for ServPro’s mitigation work, but that payment of the same

would not be binding upon INSURER regarding the amount to be paid. In the letter, INSURER

confirmed that they did not intend to assume responsibility to “repair, rebuild or replace the

property with other property of like kind and quality” on its own, as was its option under the

Policy. The letter further made several misrepresentations, including but not limited to the

following:

                      a.   that INSURER did not approve of or agree to pay for ServPro’s

                           mitigation work, and

                      b. that IPA advised INSURER that Plaintiffs would “stop mitigation work

                           until “INSURER” issues payment on the invoices submitted by


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                           ServPro”

       38.     On November 2, 2018, IPA submitted to INSURER a proof of loss specific to the

roof damages only.

       39.     On November 6, 2018, IPA submitted to INSURER a proof of loss specific to

elevator damage.

       40.     ServPro ultimately stopped the demolition and mitigation work before completing

it because INSURER failed and refused to make payment despite having agreed to the full scope

of work at the outset. Ultimately, ServPro did not complete the demolition and mitigation of the

2nd, 3rd and 4th floor of the Hotel, which they estimated would cost in excess of $300,000.00 over

and above their invoice for completed work.

       41.     Thereafter, INSURER brought in Harrison Jones (“Jones”) from Restoration

Associates, Inc., who was purported to be a “roof consultant”.

       42.     After multiple requests from IPA, on November 26, 2018, INSURER authorized

Plaintiffs to proceed with the demolition and mitigation work for the remaining floors of the Hotel

without the presence of Jones and INSURER again reminded IPA that it would not take

responsibility if Plaintiffs failed to mitigate their damages. INSURER further approved Plaintiffs’

proof of loss for the roof only.

       43.     Since ServPro refused to do any more work on the Hotel due to INSURER’s

actions, Plaintiffs had to hire a new mitigation contractor to complete the demolition and

mitigation of the remaining floors. IPA again asked if INSURER wanted to assume responsibility

for the repairs, but INSURER refused.

       44.     Due to the extent of the damage in the area, and the amount of repairs being

undertaken, finding a contractor willing and able to complete such work was extraordinarily


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difficult.

        45.     On December 5, 2018, INSURER acknowledged that it had received a proper proof

of loss specific to the elevator damage, but was disputing the amount for the repairs.

        46.     Also on December 5, 2018, IPA submitted a proof of loss for the repairs completed

by ServPro, as well as additional information supporting the elevator claim.

        47.     On December 10, 2018, IPA submitted a proof of loss for exterior damages.

        48.     On or about December 20, 2018, INSURER’s adjuster submitted a letter to IPA. In

the letter, INSURER indicated that the demolition and mitigation plan, which they had previously

accepted, would be changed to remove significant amounts of the agreed demolition work.

Specifically, INSURER suggested that the drywall damage and associated demolition did not

appear to be related to the September 15, 2018, loss.

        49.     On January 29, 2019, INSURER submitted to IPA a letter indicating that

INSURER’s estimate to repair the building was $1,331,591.18, and that repairs should be

completed by June 30, 2019. The letter included an estimate prepared by Jones, which included a

substantially different scope of loss than what was originally identified by ServPro and agreed by

INSURER. The estimate further did not include additional damages identified during the

construction process. Further, the Jones estimate did not even include the demolition and

mitigation that had not been completed by ServPro when it left the job, but was part of the original

agreed plan. Ultimately, Jones’ estimate did not include significant amounts of storm damage that

was evident in the inspection.

        50.     On March 1, 2019, IPA submitted a proof of loss for building damages and personal

property.

        51.     On March 29, 2019, INSURER’s adjuster submitted a letter to IPA acknowledging


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compliance with Plaintiffs’ obligation to submit a proof of loss, but disputing the amount therein.

Again, the letter makes clear that INSURER disputed scope of loss claimed, as well as coverage

for significant amounts of the claimed loss and insisted that INSURER would not pay more than

the estimate prepared by Jones. INSURER further indicated that they would have a representative

on site to document the extent of the repairs.

        52.     From the very outset of the claim, INSURER has continued to warn Plaintiffs that

they had an obligation to mitigate damages from the loss, and that they would not cover damages

caused by the failure to do so.

        53.      In order to comply with the Policy requirements and the duty to mitigate damages,

Plaintiffs’ contractor began work completing the remaining demolition and mitigation work, as

well as permanent repairs to the Hotel before there could be a full agreement with the scope of

loss, coverage, and amounts due under the Policy.

        54.     Throughout the course of the repair work, INSURER requested copies of receipts

and documentation regarding the cost of completed repairs, and IPA submitted the same in

accordance with INSURER’s request.

        55.     Throughout the course of the repair work, IPA continue to ask INSURER’s adjuster

to come to the Hotel to inspect the work, but he failed and/or refused to do so.

        56.     Throughout the course of the claim, ServPro and/or IPA continued to invite

INSURER’s adjuster to come see the damaged personal property, but he failed and/or refused to

do so until said property was disposed of. INSURER then attempted to justify its refusal to pay

for the personal property because the property was no longer available for inspection.

        57.     The Policy included provisions regarding the payment of the loss as follows:

        Loss Payment


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       (a) In the event of loss or damage covered by this Coverage Form, at our
       option, we will either:
            (1) Pay the value of lost or damaged property;
            (2) Pay the cost of repairing or replacing the lost or damaged property,
            subject to b. below;
            (3)Take all or any part of the property at an agreed or appraised value;
            or
            (4) Repair, rebuild or replace the property with other property of like
            kind and quality, subject to b. below.
            We will determine the value of lost or damaged property, or the cost of
            its repair or replacement, in accordance with the applicable terms of the
            Valuation Condition in this Coverage Form or any applicable pro- vision
            which amends or supersedes the Valuation Condition.
       (b) The cost to repair, rebuild or replace does not include the increased cost
       attributable to enforcement of any ordinance or law regulating the
       construction, use or repair of any property.
       (c) We will give notice of our intentions within 30 days after we receive the
       sworn proof of loss.
       (d) We will not pay you more than your financial interest in the Covered
       Property.
       (e) We may adjust losses with the owners of lost or damaged property if
       other than you. If we pay the owners, such payments will satisfy your claims
       against us for the owners’ property. We will not pay the owners more than
       their financial interest in the Covered Property.


       58.     Plaintiffs have requested replacement cost benefits under the policy for their actual

cost in making the repairs, and have fully complied with all conditions under the Policy for

receiving the same.

       59.     Despite Plaintiffs compliance and entitlement to such coverage benefits, INSURER

has failed and refused to pay the same in accordance with the Policy.

       60.     In June of 2020, IPA sent INSURER copies of all receipts and documentation for

the completed repair work, much of which had been previously submitted to insurer.

       61.     IPA further submitted additional receipts and documentation for the completed

repair work on July 31, 2020, and September 16, 2020.

       62.     However, INSURER admittedly denied replacement cost benefits to Plaintiffs



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without ever even considering the receipts and documentation they had received.

         63.      On November 3, 2020, INSURER retained counsel, who indicated that it was his

job to review the documentation and determine if adjustments from Jones’ estimate should be

made, and to provide an explanation if INSURER denied the same.

         64.      In response to INSURER’s counsel request, on February 13, 2021, IPA resubmitted

all receipts and other documentation showing all of the amounts actually spent for the Hotel

repairs, as well as a letter detailing and itemizing all of the costs and how they pertained to the

claim.

         65.      On April 28, 2021, INSURER’s counsel responded to IPA’s production that the

production did not change INSURER’s position, and disputes regarding the scope of loss and

coverage issues precluded further payment from INSURER to Plaintiffs other than approximately

$60,000.00 in expenses relating to the elevators.

         66.      Thereafter, IPA demanded an appraisal of the loss pursuant to the Policy.

         67.      The Policy included an appraisal provision as follows:

         The Appraisal Loss Condition is replaced by the following:

         Appraisal
         If we and you disagree on the value of the property or the amount of loss, either
         may make written demand for an appraisal of the loss. In this event, each party
         will select a competent and impartial appraiser. You and we must notify the
         other of the appraiser selected within 20 days of the written demand for
         appraisal. The two appraisers will select a competent and impartial umpire. If
         the appraisers do not agree on the selection of an umpire within 15 days, they
         must request selection of an umpire by a judge of a court having jurisdiction.
         The appraisers will state separately the value of the property and the amount of
         loss. If they fail to agree, they will submit their differences to the umpire. A
         decision agreed to by any two will be the appraised value of the property or
         amount of the loss. If you make a written demand for an appraisal of the loss,
         each party will:

         (a)      Pay its chosen appraiser; and
         (b)      Bear the other expenses of the appraisal and umpire equally.

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       68.     While INSURER has proceeded with an appraisal, it has refused to change its

position on the scope of loss and coverage for substantial amounts of repairs.

       69.     Furthermore, INSURER has insisted that Jones be its appraiser, despite his ongoing

working relationship with INSURER, his prior involvement with the claim, and his estimate being

used as the basis for INSURER disputing the scope of loss and its refusal to extend coverage for

necessary repairs that were made to the HOTEL.

       70.     As a result of North Carolina Law, the appraisal cannot determine scope of

coverage disputes, and the appraiser appointed by INSURER cannot be impartial as required by

the Policy.

       71.     Throughout the course of the claim, IPA has attempted to work with INSURER to

come to an agreed scope of loss and damage estimate, without success.

       72.     Since initiating the Claim, Plaintiffs, either individually or through IPA has

produced all documentation requested by INSURER and/or its agents and representatives, to the

extent that the documents were in its possession or could be obtained through other sources.

       73.     Plaintiffs, individually and by IPA, have fully complied with all terms and

conditions precedent under the Policy pertaining to the provision of coverage and/or the issuance

of payment for all losses identified in the Claim.

       74.     Plaintiffs have not waived or excused INSURER’s non-performance of its

obligations under the Policy.

       75.     Plaintiffs have satisfied any and all preconditions to filing suit, or the same have

been waived by the Defendants.

       76.     At all times relevant hereto, INSURER has acted by and through its employees and


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designated agents and representatives in its handling of the Claim.

                     COUNT I – BREACH OF CONTRACT/NEGLIGENCE

          1-76. Plaintiffs repeat and re-allege rhetorical paragraphs 1-76, as if fully reincorporated

herein.

          77.    The INSURER Policy is a valid contract between Plaintiffs and INSURER.

          78.    In addition to the provisions in the policy, amendments and endorsements, the

Policy further includes additional provisions required by law, as well as an obligation by

INSURER to exercise a covenant of good faith and fair dealing toward Plaintiffs.

          79.    INSURER has breached its Contract with Plaintiffs in one or more of the following

ways:

                 a. Misrepresenting the terms and conditions of coverage;

                 b. Deceiving Plaintiffs regarding its scope of loss and what it had agreed to pay;

                 c. Unnecessarily delaying the investigation and determination of the scope of loss;

                 d. Misrepresenting facts relating to the loss and INSURER’s purported

                     investigation thereof;

                 e. Failing and refusing to pay for, or otherwise properly adjust Plaintiffs’ damaged

                     Property, without legal excuse or justification;

                 f. Unnecessarily delaying the handling of the Claim, without legal excuse or

                     justification;

                 g. Failing to comply with its obligations under the INSURER Policy;

                 h. Failing and refusing to pay Plaintiffs for their loss in accordance with the terms

                     and conditions of the Policy;

                 i. Failing and refusing to pay Plaintiffs in accordance with the replacement cost


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                      coverage for which Plaintiffs paid; and

                 j. Failing to exercise good faith and fair dealing in its handling of Plaintiffs’

                      Claim.

        80.      INSURER further negligently failed to exercise reasonable care in the handling of

Plaintiffs’ claim.

        81.      The Policy includes a limitation for filing suit as follows:

        The Legal Action Against Us Condition is replaced

        by the following:

        LEGAL ACTION AGAINST US

        No one may bring a legal action against us under this Coverage Part unless:

        1.    There has been full compliance with all of the terms of this Coverage Part; and

        2. The action is brought within 3 years after the date on which the direct physical loss or

        damage occurred.

        82.      As a direct and proximate result of the INSURER’s breach of contract and/or

negligence in handling Plaintiffs Claim, Plaintiffs have suffered consequential damages, including

but not limited to:

                 A.      The loss of property without indemnification and/or replacement cost

provided for in the policies;

                 B.      The loss of use of property and other insurance benefits;

                 C.      The increased cost to repair and/or replace the property insured; and

                 D.      Other consequential damages.

        WHEREFORE, Plaintiffs MAYA HOTEL, INC. (“MAYA”), RUXMANI HOTELS, INC.

(“RUXMANI”) and SHARDAMAYA, INC. (“SHARDAMAYA”) d/b/a COMFORT INN



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UNIVERSITY, by counsel, respectfully requests judgment in its favor and against defendant

OWNERS INSURANCE CO, and further requests the following relief:

                 A. For the payment of all proceeds available and due under the Policy;

                 B. For all reasonable compensatory and consequential damages;

                 C. For recoverable pre-judgment and post-judgment interest; and recoverable

                      attorney fees and costs, and

                 D. For all other just and proper relief in the premises.

                COUNT II – BAD FAITH/BREACH OF COVENANT OF GOOD FAITH

          1-82. Plaintiffs repeat and re-allege rhetorical paragraphs 1-82, as if fully reincorporated

herein.

          83.         In addition to breaching its contract with Plaintiffs, INSURER further breached

its covenant of good faith and fair dealing with Plaintiffs in one or more of the following manners:

                 a.      By making an unfounded refusal to pay policy proceeds to Plaintiffs;

                 b.      By causing an unfounded delay in making payment to Plaintiffs;

                 c.      By misrepresenting the terms and conditions of coverage under their

respective policy;

                 d.      By deceiving Plaintiffs regarding what it had agreed to pay;

                 e.      By failing and refusing to pay for necessary demolition and mitigation work

                         that it had previously agreed to;

                 f.      By    unnecessarily      delaying   the   investigation,   adjustment   and/or

                         determination of the scope of loss;

                 g.      By misrepresenting facts relating to the loss and defendants’ purported

                         investigation thereof;


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               h.     By failing and refusing to pay for, or otherwise properly adjust Plaintiffs

                      damaged property, without legal excuse or justification;

               i.     By unnecessarily delaying the handling of the Claim, without legal excuse

                      or justification;

               j.     By failing and refusing to comply with its obligations under the Policy;

               k.     By failing and refusing to properly inspect or investigate the nature and

                      extent of damage to the roof;

               l.     By failing and refusing to comply with the appraisal provision of the Policy;

               m.     By attempting to exercise any unfair advantage to pressure Plaintiffs

                      into a settlement of its claim;

               n.     By compelling Plaintiffs to institute litigation to protect its policy benefits

                      due under the policy; and

               o.     By otherwise failing and refusing to exercise good faith and fair dealing in

                      its handling of COMFORT INN’s Claim.

               84.    INSURER’s actions were made in bad faith and/or a breach of the covenant

of good faith and fair dealing to Plaintiffs and have resulted in additional injury and damage to

Plaintiffs, including but not limited to consequential damages.

       WHEREFORE, Plaintiffs MAYA HOTEL, INC. (“MAYA”), RUXMANI HOTELS, INC.

(“RUXMANI”) and SHARDAMAYA, INC. (“SHARDAMAYA”) d/b/a COMFORT INN

UNIVERSITY, by counsel, respectfully requests judgment in its favor and against defendant

OWNERS INSURANCE CO, and further requests the following relief:

               A. For all reasonable compensatory and consequential damages at law;

               B. For all recoverable punitive damages at law;


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                 C. For recoverable pre-judgment and post-judgment interest; and recoverable

                     attorney fees and costs; and

                 D. For all other just and proper relief in the premises.


                               COUNT III – STATUTORY VIOLATIONS

          1-84. Plaintiffs repeat and re-allege rhetorical paragraphs 1-84, as if fully reincorporated

herein.

          85.    INSURER’s actions toward Plaintiffs violate N.C. Gen. Stat. §§58-63-15(11) and

75-1.1.

          86.    INSURER’s actions in violation of N.C. Gen. Stat. §§58-63-15(11) and 75-1.1

caused Plaintiffs further injury, damage, and harm.

          WHEREFORE, Plaintiffs MAYA HOTEL, INC. (“MAYA”), RUXMANI HOTELS, INC.

(“RUXMANI”) and SHARDAMAYA, INC. (“SHARDAMAYA”) d/b/a COMFORT INN

UNIVERSITY, by counsel, respectfully requests judgment in its favor and against defendant

OWNERS INSURANCE CO, and further requests the following relief:

                     A. For all reasonable compensatory, consequential and damages at law;

                     B. For all recoverable punitive damages at law;

                     C. For recoverable pre-judgment and post-judgment interest; and recoverable

                         attorney fees and costs; and

                     D. For all other just and proper relief in the premises.


                              COUNT IV – DECLARATORY JUDGMENT

          1-86. Plaintiffs repeat and re-allege rhetorical paragraphs 1-86, as if fully reincorporated

herein.


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       87.     Pursuant to the Policy and North Carolina law, Jones is not an impartial appraiser

and should be precluded from participating in any appraisal process before it goes forward.

       88.     Furthermore, since the appraisal process cannot determine the scope of loss and

coverage, any appraisal going forward cannot address such issues.

       89.     Accordingly, Plaintiffs request that to the extent that an appraisal goes forward,

that this Court first require INSURER to appoint a new, impartial, and competent appraiser, and

preclude the appraisal process from determining issues relating to the scope of loss and coverage.

                                         JURY TRIAL DEMAND

       90.     Plaintiffs respectfully request a trial by Jury on all triable claims.



       WHEREFORE, Plaintiffs MAYA HOTEL, INC. (“MAYA”) and SHARDAMAYA, INC.

(“SHARDAMAYA”) d/b/a COMFORT INN UNIVERSITY, by counsel, respectfully requests

judgment in its favor and against defendant OWNERS INSURANCE CO, and further requests the

following relief:

               A. That this Court declare that to the extent that the disputes between the parties

                    herein relate to the scope of loss or coverage, that either no appraisal proceed

                    or that the appraisal be appropriately limited;

               B. That to the extent that an appraisal does proceed, that it neither delay nor impede

                    the litigation of Plaintiffs’ other claims, and that defendant be ordered to appoint

                    a new, impartial, and competent appraiser before the appraisal process

                    proceeds; and

               C. For all other just and proper relief in the premises.




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   Respectfully submitted this 14 day of September 2021.


                                /s/ Inez de Ondarza Simmons
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